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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff,
CRIMINAL NO. 23-427 (MAJ)
V.
[1] MIGUEL A. FIGUEROA- yh O75
RODRIGUEZ, x RE cEIvEp oy,
Defendant. o  SHERK'S OrFiGEO e
sf J 6 uv
PLEA AND FORFEITURE AGREEMENT = US Dist
Fed. R. Crim. P. 11(c)(1)(B) » SAN JUAg Sourr #
"5 ,~
TO THE HONORABLE COURT: 579910 °

The United States of America, Defendant Miguel A. Figueroa-Rodriguez, and
Defendant’s counsel, Thomas R. Lincoln, Esq., pursuant to Federal Rule of Criminal
Procedure 11, state that they have reached a Plea Agreement, the terms and conditions
of which are as follows:

1. Charges to which Defendant will Plead Guilty

Defendant agrees to plead guilty to the /esser included offense in Count One and to
Count Seven of the Indictment.

As charged, Count One of the Indictment provides:

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Count One charges, in sum and substance, that beginning on a date unknown, but
not later than August 22, 2023, and continuing up to November 27, 2023, in the
District of Puerto Rico, and within the jurisdiction of this Court, Miguel A. Figueroa-
Rodriguez, the defendant herein, did knowingly and intentionally combine, conspire,

confederate and agree with other persons known and unknown to the Grand Jury, to
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commit an offense against the United States, that is, to knowingly and intentionally
distribute and possess with intent to distribute four hundred (400) grams or more of a
mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethyl)-4-piperidinyl] propenamide (fentanyl); and five hundred (500) grams or
more of a mixture or substance containing a detectable amount of cocaine, both a
Schedule II Narcotic Drug Controlled Substance. All in violation of 21 U.S.C. §§
841(a)(1), 841(b)(1)(A)(D, (b)C1)(B) Gi), and 846.

As a lesser included offense, Defendant is pleading guilty to:

Count One charges, in sum and substance, that beginning on a date unknown, but
not later than August 22, 2023, and continuing up November 27, 2023, in the District
of Puerto Rico, and within the jurisdiction of this Court, Miguel A. Figueroa-
Rodriguez, the defendant herein, did knowingly and intentionally combine, conspire,
confederate and agree with other persons known and unknown to the Grand Jury, to
commit an offense against the United States, that is, to knowingly and intentionally
distribute and possess with intent to distribute forty (40) grams or more of a mixture
and substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-
piperidinyl] propenamide (fentanyl); and five hundred (500) grams or more of a
mixture or substance containing a detectable amount of cocaine, both a Schedule I
Narcotic Drug Controlled Substance. All in violation of 21 U.S.C. §§ 841(a)(J),
841(b)(1)(B)(v0), (b)C1)(B)Gi), and 846.

Count Seven charges in sum and substance, that on or about August 25, 2023, in

the District of Puerto Rico and within the jurisdiction of this Court, Miguel A.

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Figueroa-Rodriguez, the defendant herein, aiding and abetting other persons known
and unknown to the Grand Jury, did knowingly and intentionally possess a firearm,
that is, one Glock pistol, Model 22, .40 caliber, bearing serial number BXV680US, in
furtherance of a drug trafficking crime for which he may be prosecuted in a court of
the United States, that is, possession with intent to distribute a controlled substance in
violation of 21 U.S.C.§841(a). All in violation of 18 U.S.C.§§924(c)(1)(A) & 2.
2. Stipulation as to the Amount of Narcotics

The United States and Defendant stipulate that for Sentencing Guidelines
purposes, Defendant shall be accountable for the possession with intent to distribute
at least 1,000 KG but less than 3,000 KG of Converted Drug Weight.

3. Maximum Penalties

Count One: The maximum statutory penalty for the offense charged in Count
One of the Indictment, based on Defendant’s guilty plea to a lesser included offense,
is a term of imprisonment of not less than 5 years and not more than 40 years; a fine
not to exceed the greater of that authorized in accordance with the provisions of 18
U.S.C. or $5,000,000.00; and a supervised release term of at least 4 years, all pursuant
to 21 U.S.C. §§ 841(a)(1), & (b)(1)(B) Gi), (vi), and 846.

Count Seven: The maximum statutory penalty for the offense charged in Count
Six of the Indictment, is a term of imprisonment of not less than five years and up to
life in prison pursuant to 18 U.S.C.§ 924(c)(1); a fine not to exceed two hundred and
fifty thousand dollars pursuant to 18 U.S.C.§ 3571(b)(3); and a supervised release term

of not more than five years, pursuant to 18 U.S.C.§ 3583(b)(1).

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4. Sentencing Guidelines Applicability
Defendant understands that the sentence will be imposed by the Court in
accordance with 18 U.S.C. §§ 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant's
sentence may not be suspended.
5. Special Monetary Assessment
Defendant agrees to pay a special monetary assessment (“SMA”) of one
hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the
Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).
6. Fines and Restitution
The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute and
make available, prior to sentencing, a standardized financial statement (OBD Form
500). The United States will advocate on behalf of any identified victim and comply
with its obligations under the Mandatory Victim Restitution Act of 1996.
7. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not

made any promise or representation as to what sentence Defendant will receive. Any

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discussions that the parties might have had about possible sentences are not binding in
any way on the Court, and do not constitute representations about what the parties
will seek, or what the actual sentence will be.
8. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. §
3553(a), the United States and Defendant submit that the advisory Guidelines
calculations listed below apply to Defendant. However, Defendant acknowledges that

the Court is not required to accept those recommended Guidelines calculations.

SENTENCING GUIDELINES CALCULATIONS
COUNT ONE
21 U.S.C. §§ 841(a)(1) & (b)(1)(B)(ii), and 846
Base Offense Level pursuant to U.S.S.G. § 2D1.1(c)(5) (at least
1,000 KG but less than 3,000 KG of Converted Drug Weight) 30
Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1 3
Downward Variance for Early Acceptance of Responsibility, |
thereby conserving valuable judicial and prosecutorial resources *
TOTAL ADJUSTED OFFENSE LEVEL 25
CH Cat. I | CH Cat. II | CH Cat. 1} CH Cat.Iv | CH Cat. V | CH Cat. VI
57-71 63-78 70-87 84-105 100-125 110-137
SENTENCING GUIDELINES CALCULATIONS
COUNT SEVEN
18 U.S.C.§924(c)(1)(A)
A minimum consecutive term of imprisonment of 60 months-
. ‘ . ‘ : To run consecutively to
sixty months is mandatory, with a maximum of life. the sentence imposed for
Count One outlined
above.

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9. Sentence Recommendation
As to Count One, and after due consideration of the relevant factors enumerated.
in 18 U.S.C. § 3553(a), the parties agree to recommend a sentence of imprisonment of
60 months regardless of the criminal history category determined by the Court. The
parties acknowledge that 60 months is the minimum mandatory sentence applicable,
as such, no party can recommend a sentence below that mandatory minimum sentence
Nb unless the defendant qualifies for relief under a separate provision of law.
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Col As to Count $ix, and after due consideration of the relevant factors enumerated
x in 18 U.S.C.§ 3553(a), the parties agree that the parties will request a sentence of

& imprisonment of 60 months, regardless of the criminal history category determined by

v the Court, to be served consecutive to the term of imprisonment in Count One of the
al Indictment and any other sentence.
The parties agree that any recommendation by either party for a term of
YQ imprisonment below or above the stipulated sentence recommendation will constitute
eo a material breach of the Plea Agreement.
x 10. Downward Variance for Early Acceptance of Responsibility
The parties have agreed to recommend : sentencing that the Court grant a
two-level downward variance from the applicable sentencing guidelines in recognition
of the defendant’s early acceptance of responsibility, which promotes the conservation
of judicial and prosecutorial resources.
11.No Stipulation as to Criminal History Category

The parties do not stipulate as to any Criminal History Category for Defendant.

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12. Waiver of Appeal

\@ Defendant knowingly and voluntarily agrees that, if the sentence imposed by

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(ay for Count Six for a total term on imprisonment of 120 months, Defendant waives the

the Court for Count One is 60 months, plus the mandatory 60 months of imprisonment

right to appeal any aspect of this case’s judgment and sentence, including, but not
Xv limited to the term of imprisonment or probation, restitution, fines, forfeiture, and the
term and conditions of supervised release.
9" 13.No Further Adjustments or Departures
The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. §3553—other than any explicitly provided for in this Plea
Agreement—shall be sought by Defendant. The parties agree that any request by
Defendant for an adjustment or departure that is not explicitly provided for in this Plea

Agreement will be considered a material breach of this Plea Agreement, and the

United States will be free to ask for any sentence, either guideline or statutory.

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14. Satisfaction with Counsel
Defendant is satisfied with counsel, Thomas R. Lincoln, Esq., and asserts that

counsel has rendered effective legal assistance.

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15. Rights Surrendered by Defendant Through Guilty Plea

Defendant understands that by entering into this Plea Agreement, Defendant

surrenders and waives certain rights as detailed in this agreement. Defendant

understands that the rights of criminal defendants include the following:

a.

If Defendant had persisted in a plea of not guilty to the charges,
Defendant would have had the right to a speedy jury trial with the
assistance of counsel. The trial may be conducted by a judge sitting
without a jury if Defendant, the United States and the judge agree.

If a jury trial is conducted, the jury would be composed. of twelve lay
persons selected atrandom. Defendant and Defendant’s attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that
Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge
separately.

Ifa trial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt
beyond a reasonable doubt.

At a trial, the United States would be required to present its witnesses
and other evidence against Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In turn, Defendant could present witnesses and.
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance
through the subpoena power of the Court.

Ata trial, Defendant could rely on the privilege against self-incrimination
to decline to testify, and no inference of guilt could be drawn from
Defendant’s refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.

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16.Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby
incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and
agrees that the facts therein are accurate in every respect. Defendant agrees and accepts
that had the matter proceeded to trial, the United States would have proven those facts
beyond a reasonable doubt.
17.Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district, state,
or local authorities.
18.Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the
United States, Defendant, and Defendant’s counsel. The United States has made no
promises or representations except as set forth in writing in this Plea Agreement and.
denies the existence of any other terms and conditions not stated. herein.
19. Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties

unless they are in writing and signed by all parties.

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20.Dismissal of Remaining Counts
At sentencing should there be any pending counts and should the Defendant
comply with the terms of this Plea Agreement, the United States will move to dismiss
the remaining counts of the Indictment pending against Defendant in this case.
21. Voluntariness of Plea Agreement
Defendant acknowledges that no threats have been made against Defendant and
that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
22.Breach and Waiver
Defendant agrees that defendant will have breached this Plea Agreement if,
after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw
Defendant’s guilty plea. In the event of such a breach, the United States will be free
from its obligation under this Plea Agreement and Defendant will not have the right
to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in
breach of the Plea Agreement, Defendant is deemed to have waived any objection to
the reinstatement of any charges under the Indictment, Information, or complaint
which may have previously been dismissed or which may have not been previously
prosecuted.
23.Potential Impact on Immigration Status

Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby

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agrees and recognizes that if convicted, a Defendant who is not a United States citizen
may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.
24.Felony Conviction

Defendant hereby agrees and recognizes that the plea of guilty in this case will be
recognized as a felony conviction, which will result in the loss of certain rights,
including but not limited to the right to vote in a federal election, to serve as a juror,
to hold public office, and to lawfully possess a firearm.

25.Firearms and Ammunition Forfeiture

Pursuant to 18 U.S.C.§ 924(d) and 28 U.S.C.§ 2461(c), the Defendant agrees to
forfeit his rights and interest in any firearms and ammunition involved or used in the
commission of the offense, including, but not limited to: one Glock pistol, Model 22,
AO caliber, bearing serial number BX V680US; one Glock pistol, Model 27, .40 caliber,
bearing serial number SFZ941; one Glock pistol, Model 22, .40 caliber, bearing serial
number KDM604; one AR-15-Type Privately Made Firearm (“PMF”), bearing no
manufacturer’s marking or serial number; three .40 Glock pistol magazines; two .40
Glock pistol high capacity magazines; one 5.56 rifle magazine; one high-capacity, .40
caliber, Glock drum pistol magazine.

26.Forfeiture Provision

Defendant agrees to waive and forgo any interests or claims over any property

constituting, or derived from, any proceeds obtained, directly or indirectly, as the result

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of the offenses charged in Count One and any property used, or intended to be used,
in any manner or part, to commit, or to facilitate the commission of, the offense.
Defendant agrees to forfeit the aforementioned property under 21 U.S.C. § 853 & 970.
Defendant further agrees to waive all interest in any such asset in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state or
federal. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 32.2
and 43(a) regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
Defendant acknowledges that the forfeiture of assets is part of the sentence that may
be imposed in this case and waives any failure by the court to advise Defendant of this,
pursuant to Rule 11(b)(1)(J), at the time Defendant’s guilty plea is accepted.
Defendant further agrees to waive all constitutional and statutory challenges in
any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture constitutes an excessive fine or punishment. Defendant
agrees to take all steps as requested by the United States to pass clear title to forfeitable
assets to the United States, and to testify truthfully in any judicial forfeiture
proceeding. Defendant acknowledges that all property covered by this agreement is
subject to forfeiture as proceeds of illegal conduct, giving rise to forfeiture and/or

substitute assets for property otherwise subject to forfeiture.

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Defendant, by agreeing to the forfeiture stated above, acknowledges that such
forfeiture is not grossly disproportionate to the gravity of the offense conduct to which
Defendant is pleading guilty. Defendant agrees that the forfeiture provisions of this
Plea Agreement are intended to and will survive Defendant, notwithstanding the
abatement of any underlying criminal conviction after the execution of this agreement.

The forfeitability of any particular property pursuant to this agreement shall be
determined as if Defendant had survived, and that determination shall be binding upon
Defendant’s heirs, successors and assignees until the agreed forfeiture, including any

agreed money judgment, is collected in full.

W. STEPHEN MULDROW

United States Attorney
Moh yale [Ufo
AT Max J. Pérez-Bouret Mftuel A. Figuéroa-Rodriguez

Assistant U.S. Attorney, Chief Defendant / S
Transnational Organized Crime Section Dated: [fb 2
Dated: |} 23. DoAS

Maria L. Montafiez-Concepcion
Assistant United States Attorney, Deputy Chief

Transnational Organized Crime Section
Dated:__ | 23. 225°

Antonio J. Lopez-Rivera Mec R. Lincoln
Assistant U.S. Attorney Counsel for Defendant
Dated:_| /23 /2S Dated: p26 1925

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UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the
charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my case.
I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish
language and I have no doubts as to the contents of the agreement. I fully understand

this agreement and voluntarily agree to it.

Date: yt /2 5 v Lael — ipl, VEU

iguel A. Figuerda-Rodriguez
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the pending charges. Further, I have reviewed the applicable
provisions of the Guidelines and I have fully explained. to Defendant the provisions of
those Guidelines that may apply in this case. I have carefully reviewed every part of
this Plea Agreement with Defendant. I have translated the Plea Agreement and
explained it in the Spanish language to the Defendant who has expressed having no
doubts as to the contents of the agreement. To my knowledge, Defendant is entering
into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant’s plea of guilty.

Date: LAG] 2025

Counsel for Defendant

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, Defendant Miguel A. Figueroa-Rodriguez admits that Defendant is guilty as
charged in Count One and Seven of the Indictment and admits the following:

That beginning on a date unknown, but not later than August 22, 2023, and
continuing up November 27, 2023, in the District of Puerto Rico, and within the
jurisdiction of this Court, Miguel A. Figueroa-Rodriguez, the defendant herein, did
knowingly and intentionally combine, conspire, confederate and agree with other
persons known and unknown to the Grand Jury, to commit an offense against the
United States, that is, to knowingly and intentionally distribute and possess with intent
to distribute forty (40) grams or more of a mixture and substance containing a
detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propenamide
(fentanyl); and five hundred (500) grams or more of a mixture or substance containing
a detectable amount of cocaine, both a Schedule II Narcotic Drug Controlled
Substance.

Defendant admits that he knowingly and intentionally conspired to possess with
intent to distribute at least 1,000 KG but less than 3,000 KG of Converted Drug Weight.

Defendant also admits that: that on or about August 25, 2023, in the District of
Puerto Rico and within the jurisdiction of this Court, Miguel A. Figueroa-Rodriguez,
the defendant herein, aiding and abetting other persons known and unknown to the
Grand Jury, did knowingly and intentionally possess a firearm, that is, one Glock

pistol, Model 22, .40 caliber, bearing serial number BX V680US, in furtherance of a

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drug trafficking crime for which he may be prosecuted in a court of the United States,
that is, possession with intent to distribute a controlled substance in violation of 21
U.S.C.§841 (a).

Had the United States proceeded to trial, it would have presented testimony of
law enforcement agents, expert testimony from a narcotics smuggling expert, and a
firearms expert, documentary evidence, and physical evidence, including a sample of

the seized cocaine, to prove Defendant is guilty beyond a reasonable doubt. Discovery

tr to the defense in a timely manner.

Antonio J. Lépez-Rivera

Assistant U.S. Attorney Counsel for Defendan
Dated: _| 29/25 Dated: [2a] aS
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iddel A. Figuéroa-Rodriguez

Defendant
Dated: lf 2¢ / 2L 25

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